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      In The United States Court of Federal Claims
                                          No. 08-700C

                                      (Filed: April 3, 2009)
                                           __________
 JAY ANTHONY DOBYNS, et al.,

                        Plaintiffs,

        v.

 THE UNITED STATES,

                        Defendant.
                                           _________

                                            ORDER
                                           __________

       On April 1, 2009, plaintiff filed a response to defendant’s motion to dismiss and a motion
to amend its complaint. Accordingly:

       1.       A telephonic status conference to discuss plaintiff’s amended complaint
                will be held in this case on Wednesday, April 15, 2009, at 10 a.m. (EDT);
                and

       2.       All further briefing on defendant’s motion to dismiss is hereby STAYED
                pending that status conference.

       IT IS SO ORDERED.



                                                               s/ Francis M. Allegra
                                                               Francis M. Allegra
                                                               Judge
